UNITED STATES DISTRICT COURT
OCT 39 2020
WESTERN DISTRICT OF TEXAS went US. DISTRICT
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MIDLAND/ODESSA DIVISION N XAS
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FRANCE FRANCOIS,

Plaintff ,
VS Case No, M:18-CV- 00182-DC

HEALTHCARE REVENUE RECOVERY
GROUP, LLC,

Defendant.

NOTICE OF VOLUNTARY DISMISSAL

TO THE HONORABLE JUDGE OF SAID COURT:

| am the Plaintiff in this matter and pursuant to Federal Rule of Court Procedure 41(a)2 . | voluntary
dismiss this entire case. Provided in paragraph (2) of Federal Rule of Court Procedure 41, defendant has
not filed a counter petition or any counterclaims in this matter. Nor has any discovery taken place in this
case, defendant's only participation thus far has been an emailed response rejecting the first settlement
offer. Plaintiff numerous attempts to mediate this case have stalled. Therefore, Plaintiff files this, Notice
of Voluntary Dismissal without prejudice, with each side to bear its own costs and fees. The plaintiff asks
that this Court grant a voluntary dismissal of all of his claims against defendant without prejudice in the
above-styled lawsuit.

   

FRANCE FRAWCOIS

FRANCE FRANCOIS, Pro Se
3814 PORTLAND STREET
APT 224

IRVING, TX 75038
CERTIFICATE OF SERVICE

| hereby certify that a true and correct copy of the forgoing has been served on the following,
first- class United States mail, prepaid postage, on this 28th day of OCTOBER 2020

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
200 E. Wall Street, Room 222
Midland, Texas 79701

| hereby certify that a true and correct copy of the forgoing has been served on the following,
first- class United States mail, prepaid postage, on this 28th day of OCTOBER 2020

Keith Wier, for the firm

Maurice Wutcscher LLP

6136 Frisco Square Blvd, Suite 400
Frisco, Texas 75034
OCTOBER 28th, 2020

Dear Honorable Judge David Counts,

Case No. M:18-CV- 00182-DC

| have been unsuccessful with mediation, Defendant has been unwilling to settle. | have reach out
to defendant by email with a more forgiving settlement offer on October 22, 2020, but | have yet to hear
from defendant. In addition, | have been distress with preparation of this case due to unpredicted covid-
19 restriction within the state. | would like to resolve this case but in a manner that would cause the
Court the least amount of time and money, so | respectfully pray that the Court grant the notice of
voluntary dismissal without prejudice. THANK YOU

FRANCE FRANCOIS, Pro Se
"FRANCE FRANCOIS

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